









Dismissed and Memorandum Opinion filed January 6, 2005









Dismissed and Memorandum Opinion filed January 6,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00749-CV

____________

&nbsp;

BARBARA YOUNGS SETTLE,
Appellant

&nbsp;

V.

&nbsp;

JOHN F. ROBERT, INDEPENDENT
EXECUTOR, Appellee

&nbsp;



&nbsp;

On Appeal from the Probate Court
No. 1

Harris County, Texas

Trial Court Cause No.
301383-403

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed June 28, 2004.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On December 2, 2004, notification was transmitted to all
parties of the court's intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant filed a motion to retain, but did not provide this
court with proof of payment for preparation of the record.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed January 6, 2005.

Panel consists of Justices
Anderson, Hudson, and Frost.

&nbsp;





